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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                  EUGENE DIVISION

ELEAQIA MCCRAE,                                                         Case No. 6:20-cv-01489-IM

                             Plaintiff,
                                                       DECLARATION OF AARON P. HISEL
       v.                                              IN SUPPORT OF DEFENDANTS’
                                                       RULE 50 MOTION
CITY OF SALEM, et al.,


                             Defendants.


       I, Aaron P. Hisel, hereby declare under penalty of perjury that the following is true and

correct based upon my person knowledge:

       1.     I am one of the attorneys representing the defendants in this matter. This Declaration

is offered in support of Defendants’ Rule 50 Motion.



Page 1 – DECLARATION OF AARON P. HISEL IN SUPPORT OF DEFENDANTS’
         RULE 50 MOTION
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        2.     Attached to this declaration and marked “Exhibit 1” is a true and correct copy of

transcript excerpts from McCrae v. City of Salem, Case No. 6:20-cv-01489, Trial Day three,

testimony of Scott DeFoe. The attached pages are certified to be true and accurate by Certified

Court Reporter Jill Jessup on September 28, 2022, as shown on the enclosed certificate page.

        3.     Attached to this declaration and marked “Exhibit 2” is a true and correct copy of

transcript excerpts from McCrae v. City of Salem, Case No. 6:20-cv-01489, Trial Day one,

testimony of Robert Johnston. The attached pages are certified to be true and accurate by Certified

Court Reporter Jill Jessup on September 26, 2022, as shown on the enclosed certificate page.

        4.     Attached to this declaration and marked “Exhibit 3” is a true and correct copy of

transcript excerpts from McCrae v. City of Salem, Case No. 6:20-cv-01489, Trial Day four,

testimony of Spencer Fomby. The attached pages are certified to be true and accurate by Certified

Court Reporter Jill Jessup on September 29, 2022, as shown on the enclosed certificate page.

        5.     Attached to this declaration and marked “Exhibit 4” is a true and correct copy of

Defendants’ Trial Exhibit 201, City GoPro video, from McCrae v. City of Salem, Case No. 6:20-

cv-01489. This is the same as Plaintiff’s exhibit 110.

        6.     Attached to this declaration and marked “Exhibit 5” is a true and correct copy of

Plaintiff’s Trial Exhibit 109, which is the specifications sheet for the Stinger round at issue in this

litigation.

        7.     Attached to this declaration and marked “Exhibit 6” is a true and correct copy of

Defendants’ Trial Exhibit 209, which is a portion of the Computer Aided Dispatch from the

evening in question.




Page 2 – DECLARATION OF AARON P. HISEL IN SUPPORT OF DEFENDANTS’
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       8.      Attached to this declaration and marked “Exhibit 7” is a true and correct copy of

Defendants’ Trial Exhibit 204, View From the Back video, from McCrae v. City of Salem, Case

No. 6:20-cv-01489.

       I hereby declare that the above statement is true to the best of my knowledge and

belief, and I understand it is made for use of evidence in court and subject to penalty for

perjury.

       DATED this 14th day of October, 2022.

                                                          s/ Aaron P. Hisel
                                                       Aaron P. Hisel, OSB #161265
                                                       Of Attorneys for Defendants




Page 3 – DECLARATION OF AARON P. HISEL IN SUPPORT OF DEFENDANTS’
         RULE 50 MOTION
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                                  CERTIFICATE OF SERVICE
       I hereby certify that I served the foregoing DECLARATION OF AARON P. HISEL IN

SUPPORT OF DEFENDANTS’ RULE 50 MOTION on:

          Kevin C. Brague
          The Brague Law Firm
          4504 S. Corbett Avenue Suite 250
          Portland, OR 97239
          kevin@braguelawfirm.com
              Attorney for Plaintiff


by the following indicated method or methods:

    ☒          by electronic means through the Court's Case Management/Electronic Case File system on the
               date set forth below;

               by emailing a copy thereof to each attorney at each attorney's last-known email address on the date
               set forth below;

               by mailing a full, true, and correct copy thereof in a sealed, first-class postage-prepaid envelope,
               addressed to plaintiff’s last-known address listed above and depositing it in the U.S. mail at Salem,
               Oregon on the date set forth below.


       DATED this 14th day of October, 2022.

                                                                s/ Aaron P. Hisel
                                                             Aaron P. Hisel, OSB #161265
                                                             Of Attorneys for Defendants




 CERTIFICATE OF SERVICE
